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 8                          UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
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11    UNITED STATES OF AMERICA,                            Criminal Case No. 12CR1064-H
12                                   Plaintiff,            JUDGMENT AND ORDER OF
                                                           DISMISSAL
13                          v.
14
15    JOSE ALFONSO TORRES (2),

16                                   Defendant.

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            GOOD CAUSE APPEARING and upon the motion of the Government, IT IS HEREBY
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     ORDERED that the Indictment in the above entitled case against defendant Jose Alfonso Torres is
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     dismissed without prejudice. The defendant is hereby discharged and the arrest warrant as to said
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     defendant is hereby recalled.
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            IT IS SO ORDERED.
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     DATED: June 12, 2012
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                                                     MARILYN L. HUFF, District Judge
25                                                   UNITED STATES DISTRICT COURT

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